

People v Goldstein (2019 NY Slip Op 08968)





People v Goldstein


2019 NY Slip Op 08968


Decided on December 17, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 17, 2019

Gische, J.P., Mazzarelli, Singh, Moulton, JJ.


10588 3678/13

[*1] The People of the State of New York, Respondent,
vFrank Goldstein, Defendant-Appellant.


Christina A. Swarns, Office of the Appellate Defender, New York (Angie Louie of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Derek M. Ciulla of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Ethan Greenberg, J. at plea; Eugene Oliver, J. at sentencing), rendered December 17, 2015,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: DECEMBER 17, 2019
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








